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IN THE UNITED sTATES DISTRICT coURT 'c B`Y -~ D-C.

FOR THE WESTERN DISTRICT OF TENNESSEE

 

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RICKY BENsoN, )( CLEH< U.S [HSYR;CIMT
X w)f) ar 31 hams
Plaintiff, X
X
vs. X No. 04~2547-Ma/V
X
MARK LUTTRELL, et al., X
X
Defendants. X
X

 

ORDER ASSESSING APPELLATE FILING FEE

 

On June 17, 2005, Plaintiff Ricky Benson, filed a notice of
appeal from this Court's order of dismissal and judgment entered
September 3, 2004. Benson was formerly incarcerated at the Shelby
County Correctional Center (SCCC) and the Shelby County Criminal
Justice Center (Jail). He has notified the Clerk that he is no
longer incarcerated and. his new address is 1555 Rayburn St.,
Memphis, TN 38106. Plaintiff was notified by letter from the Sixth
Circuit Court of Appeals that he must file the documents required
by The Prison Litigation Reform.Act of 1995, (PLRA), Title VIII of
Pub.L. 104-134, 110 Stat. 1321 (April 26, 1996), which amended the
in forma pauperis statute, 28 U.S.C. § 1915 or pay the entire $255

appellate filing fee.1 Howeverjr the PLRA and its installment

 

1 The Sixth Circuit is apparently unaware that Benson has been

released. The letter was mailed to Benson's prison address.

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provisions do not apply tx) a complaint once the plaintiff is
released from prison.

Benson did not file a motion to proceed ip fp;ma pauperis on
appeal. The Court's order of dismissal certified pursuant to 28
U.S.C. § 1915(a)(3) that any appeal in this matter by plaintiff is
not taken in good faith and plaintiff may not proceed on appeal ip
fp;mg pauperis. The Court reaffirms that certification and
reiterates that plaintiff may not proceed ip fp;mg pauperis on
appeal.

The plaintiff must pay the entire $255 filing fee required by
28 U.S.C. §§ 1913 and 1917. The entire filing fee must be paid
within thirty days of the entry of this order. _gp Mg§ppg_yp
Wrigglesworth, 114 F.3d 601 (6th Cir. 1997); Elgyg_yp_§pipgg_§pgpg§
Postal Service, 105 F.3d 274 (6th Cir. 1997). If the plaintiff
fails to pay the appellate filing fee within thirty days2 of the
entry of this order, the district court will notify the Sixth
Circuit, which will dismiss the appeal. If the appeal is
dismissed, it will not be reinstated once the fee is paid. Mp§p;§,
114 F.3d at 610.

IT IS SO ORDERED this

)/K

day of JJ]; yS.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

2 The district court may extend this deadline one time by thirty days

if the motion to extend is filed within the meaning of Fed. R. App. P. 4(a)(5)(C)
before the expiration of the original deadline. McGore, 114 F.3d at 610.

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:04-CV-02547 Was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listed.

 

Ricky Benson

204 821

15 55 Rayburn St.
1\/1emphis7 TN 3 8106

Honorable Samuel Mays
US DISTRICT COURT

